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                  UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE; CLAIRE R. KELLY,
JENNIFER CHOE-GROVES, JUDGES
_________________________________________
                                          :
                                          :
IN RE SECTION 301 CASES                   : Court No. 21-00052-3JP
                                          :
__________________________________________:


                 DEFENDANTS’ MOTION TO CORRECT THE RECORD

       Defendants, the United States, et al., respectfully request that the Court grant this motion

correct the administrative record of this proceeding to include the following documents:

(1) Exhibit A, Statement from the President Regarding Trade with China, dated June 18, 2018,

available at https://www.govinfo.gov/content/pkg/DCPD-201800432/pdf/DCPD-

201800432.pdf, and (2) Exhibit B, Update Concerning China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, dated November 2018,

available at

https://ustr.gov/sites/default/files/enforcement/301Investigations/301%20Report%20Update.pdf

(Supplemental 301 Report). We have also attached as Exhibit C a declaration from Megan

Grimball, the representative from the United States Trade Representative (USTR) certifying the

completeness of the administrative record with the inclusion of these two documents. We regret

any inconvenience that may result from filing this motion after oral argument has occurred in

this case. We do not request additional briefing based upon these documents or wish to modify

our prior briefs or positions in any way. Instead, we seek to include the exhibits in the record

only so that the Court will have a complete record.
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       On February 11, 2022, undersigned counsel for the Government contacted Pratik Shah

and Matthew Nicely, representatives from the plaintiffs’ steering committee, for plaintiffs’

position on this motion and they stated as follows: “Plaintiffs take no position on the motion

with respect to Exhibit A, which was cited in the Federal Register notice for proposed List 3 and

in the parties’ briefing before this Court. Plaintiffs, however, oppose as to Exhibit B, which

(i) post-dates the proposed and final Federal Register notices for List 3, (ii) is not cited in the

proposed or final Federal Register notices for List 4, and (iii) was not cited in any briefing before

this Court. Plaintiffs intend to file a response by the end of this week.”

       On April 30, 2021, the USTR filed the administrative record in this matter, which

included “a complete list of the documents and materials directly or indirectly considered by the

agency in connection with the challenged List 3 and List 4 tariff actions.” Declaration of Megan

Grimball, dated April 30, 2021 (ECF No. 297). Upon reviewing the record during the last two

weeks, however, the USTR realized that it did not include the Presidential statement and the

update to the 301 Report. Exhibit A, the President’s statement from June 18, 2018, directing the

USTR to identify “$200 billion worth of Chinese goods for additional tariffs at a rate of 10

percent,” which eventually became List 3, was cited in both parties’ briefs and was quoted and

cited in PR-14.1 Exhibit B is an update to the USTR’s Section 301 Findings regarding China’s

unreasonable and discriminatory trade practices (PR-26), and was cited during oral argument. It

was published on the USTR’s website with the original Section 301 Findings in November 2018,

which was in between the issuance of Lists 3 and 4. The U.S. Trade Representative was aware



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          The precise webpage cited in PR-14 is from whitehouse.gov, but this webpage is no
longer active. The President’s statement dated June 18, 2018 can now be found at the webpage
cited in our motion.
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of the contents of both of these documents and they would have been considered when making

the challenged decisions.

       Whether to permit correction of the record is an evidentiary matter that is a discretionary

determination by this Court. Axiom Resource Management, Inc. v. United States, 564 F.3d 1374,

1378 (Fed. Cir. 2009) (citing Murakami v. United States, 398 F.3d 1342, 1346 (Fed. Cir. 2005).

A court’s determination of an evidentiary matter constitutes an abuse of discretion if it is

“‘clearly unreasonable, arbitrary or fanciful, or is ‘based on an erroneous construction of the

law.’” Axiom, 564 F.3d at 1378 (quoting Air Land Forwarders, Inc. v. United States, 172 F.3d

1338, 1341 (Fed. Cir. 1999)).

       The administrative record consists of documents that were “directly or indirectly

considered by the [agency] decisionmaker(s).” Pacific Shores Subdivision California Water

District v. United States Army Corps of Engineers, 448 F. Supp. 2d 1, 7 (D.D.C. 2012); JSW

Steel (USA) Inc. v. United States, 466 F. Supp. 3d 1320, 1328 (Ct. Int’l Trade 2020)

(administrative record includes documents considered directly or indirectly) (citing Ammex, Inc.

v. United States, 62 F. Supp. 2d 1148, 1156 (Ct. Int’l Trade 1999)). Here, granting the USTR

leave to to “correct” or “complete” the record is appropriate because the USTR considered both

the President’s statement and the facts contained in the report when making the challenged

decisions. Center for Native Ecosystems v. Salazar, 711 F. Supp. 2d 1267, 1274 n.7 (D. Colo.

2010) (explaining the difference between “completing” versus “supplementing the record”)

(citing The Cape Hatteras Access Preservation Alliance v. U.S. Dep’t of Interior, 667 F. Supp.

2d 111, 114 (D.D.C. 2009)); Joint Venture of Comint Sys., Corp. v. United States, 100 Fed. Cl.

159, 167 (Fed. Cl. 2011) (“Incorporating materials into the administrative record that were

previously omitted is not novel.”). Thus, our motion is distinguishable from a situation in which
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the moving party seeks to modify the administrative record with outside materials that were not

considered by the agency decision maker, which are disfavored. See AgustaWestland North

America, Inc. v. United States, 880 F.3d 1326, 1331 (Fed. Cir. 2018) (explaining that

“supplementation of the record should be limited to cases in which the omission of extra-record

evidence precludes effective judicial review.”) (internal quotation omitted).

       For these reasons, we respectfully request that the Court grant this motion to correct the

administrative record and deem the documents attached as Exhibits A-B as part of the

administrative record along with the declaration attached as Exhibit C.



                                                 Respectfully submitted,

                                                 BRIAN M. BOYNTON
                                                 Acting Assistant Attorney General

                                                 /s/ Patricia M. McCarthy
                                                 PATRICIA M. MCCARTHY
                                                 Director

                                                 /s/ L. Misha Preheim
                                                 L. MISHA PREHEIM
                                                 Assistant Director

                                                 /s/ Justin R. Miller
                                                 JUSTIN R. MILLER
                                                 Attorney-In-Charge,
                                                 International Trade Field Office




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February 15, 2022                         Attorneys for Defendants




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                 UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE; CLAIRE R. KELLY,
JENNIFER CHOE-GROVES, JUDGES
_________________________________________
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                                          :
IN RE SECTION 301 CASES                   : Court No. 21-00052-3JP
                                          :
__________________________________________:


                                              ORDER

       Upon consideration of defendants’ motion to correct the record, it is hereby

       ORDERED that defendants’ motion is granted, and it is further

       ORDERED that the agency administrative record in this proceeding is corrected to

include the documents attached to the motion as Exhibits A-B, and the declaration certifying the

record attached to the motion as Exhibit C.



Dated: ________________________
         New York, New York                                             Judge




                                                                        Judge




                                                                        Judge




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